            Case 21-54548-pwb                            Doc 5            Filed 06/15/21 Entered 06/15/21 14:11:39                                      Desc Main
                                                                          Document      Page 1 of 2

                                                                  United States Bankruptcy Court
                                          NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION
 In re       Kim Jung Stubblefield                                                                                                     Case No.
                                                                                                  Debtor(s)                            Chapter    7

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                      AND DISCLOSURE OF POST-PETITION PAYMENT OF ATTORNEY FEES
1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ...................................................................       $                  1392.00

             Prior to the filing of this statement I have received ......................................................                                   0.00

             Balance Due, legal services only ..................................................................................   $                  1392.00


2.   Additional amounts due

            Court Filing Fee ……….. ………………………………………………………………                                                                        $                   335

           Credit Counseling Fee……….. ………………………………………….……………                                                                       $                   35

           Credit Reports Fee……….. …………………………………………………………                                                                          $                   22

            Tax Transcript Fee……….. …………………………………………………………                                                                         $                   13



           Total Balance Due on Fees……….. ……………………………………………………… $                                                                                      $1,797.00




3.   The source of the compensation paid to me was:
                                              Debtor                                                      Other (specify):

4.   The source of compensation to be paid to me is:
                                              Debtor                                                      X Other (See (8) below):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:                            no
         limitation except as set forth in paragraph 7 below.



7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
     a. These fees do not include certain costs associated with this case. Client shall be responsible for all court costs, credit and financial
     management counseling costs, witness and appraisal fees, and the costs to obtain Client's credit report.
     b. The contract between the parties does not include fees for representing Client in adversary proceedings. If Client is served with an adversary
     proceeding complaint, Attorney shall take appropriate steps to protect and represent Client's best interests.
     c. The parties have agreed that Attorney may seek an additional fee of up to $700 for each Motion to Redeem Personal Property which is filed
     by Attorney and approved by the Court in this case.
          Case 21-54548-pwb                  Doc 5        Filed 06/15/21 Entered 06/15/21 14:11:39                                 Desc Main
                                                          Document      Page 2 of 2
8.     Client wishes to file a petition under Chapter 7 of the Bankruptcy Code. Client is unable to pay the Attorney fee in full prior to filing the case.
Client has agreed to allow the Attorney fee to be paid in installments commencing approximately one month after filing. Client acknowledges that
there is a split of authority nationwide regarding the propriety of accepting post-petition payments for Chapter 7 attorney fees. Client further acknowledges
that the Northern District of Georgia is in the minority of the Courts that does allow these post-petition payments.



               Client agrees that the fees shall be debited from Client’s bank account at the rate of $180.00 Monthly beginning on June 30, 2021 and
               continuing until paid in full.

               Client agrees that if the honoring of a payment would cause client a hardship, Client shall give at least 48 hours notice to Attorney by direct
               contact (e-mail or in person or in a phone conversation) to Attorney to have said payment postponed. Client agrees that if garnished funds
               are recovered by Attorney, those funds shall first be applied to the balance owed on Attorney fees and the remainder will be paid to
               the Client. Client agrees to cooperate in the processing of any check regarding the recovered funds

               Dated: 6/15/2021
                             Signed:                /s/
                                                    Kim Jung Stubblefield




                                                                    CERTIFICATION
               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
               debtor(s) in this bankruptcy proceeding. I certify that a copy of each of the notices required by 11 U.S.C. Section 342(b), Section
               527(a)(2), and Section 527(b) has been provided to, and discussed with, the debtor(s).
               Dated: 6/15/2021
                                          Attorney:           /s/
                                                    Brian M. Shockley, GA Bar No. 643752
                                                    Attorney, for the Firm

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